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                           UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

IN RE:                                                    §
                                                          §
PAYSON PETROLEUM 3 WELL,                                  §              Case No. 17-40179
LP,                                                       §              Chapter 7
                                                          §
       DEBTOR.                                            §


                                          NOTICE OF HEARING

                                         [Relates to Docket No. 16]

       PLEASE TAKE NOTICE that a hearing on Jason R. Searcy’s, Chapter 11 Trustee for

Payson Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly

administered Bankruptcy Case No. 16-41044, Motion to Lift Automatic Stay [Docket No. 16] is

to be held on May 23, 2017 at 9:30 a.m. in the Courtroom of the United States Bankruptcy Court,

Suite 300B, 660 North Central Expressway, Plano, Texas 75074.


                                                      Respectfully submitted,


                                                      By:        /s/ Blake Hamm
                                                              Phil Snow
                                                              State Bar No. 18812600
                                                              Blake Hamm
                                                              State Bar No. 24069869
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                                                      COUNSEL FOR JASON R. SEARCY,
                                                      CHAPTER 11 TRUSTEE FOR PAYSON
                                                      PETROLEUM, INC., PAYSON OPERATING,
                                                      LLC, AND MARICOPA RESOURCES, LLC



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                                            CERTIFICATE OF SERVICE

        The undersigned certifies that on April 17, 2017, a true and correct copy of this document
was served (i) via the Court’s electronic case filing system upon the parties listed below or by
email listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas
upon all parties requesting electronic notice of all filings and (iii) via regular First Class Mail,
properly addressed and postage prepaid, upon all parties listed on the Master Service List attached
hereto.
        .

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                                                              /s/ Blake Hamm
                                                              Blake Hamm



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Label Matrix for local noticing                       ACME Energy Entered
                                                                  Company,04/17/17
                                                                           LLC 10:06:10   Desc Main Document    Page 3 of 14
                                                                                                        Aki Miyasaki
0540-4                                                1795 E. 71st Street                               1415 W. Rascher Ave.
Case 17-40179                                         Tulsa, OK 74136-5108                              Chicago IL 60640-1205
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Mon Apr 17 09:20:18 CDT 2017
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                            Case 17-40179   Doc 22   Filed 04/17/17
Lanning Macfarland                                      Lawrence andEntered 04/17/17 10:06:10
                                                                      Theodora Esposito         Desc Main Document    Page 9 of 14
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                          Case 17-40179   Doc 22   Filed 04/17/17 Entered 04/17/17 10:06:10   Desc Main Document
Michael Kusheba                                        Michael Mitchell                                     MichaelPage 10 of 14
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                                                       Arlington, TX 76010-7457
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Prem Kumar                                             Randall McKenna                                      RandallPage
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Wildflower LLC                                         North Central Texas Holding and                      200 N. Matteson Ave
817 E. San Angelo Ave.                                 Investments, Inc.                                    Republic MO 65738-1675
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                                                       Southlake TX 76092-2026

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Springfield MO 65810-3261                              Highlandville MO 65669-8227                          Livermore CA 94551-2595
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Roy Williams                                            Roy and Carol Ray                                    RudolphPage
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190 Mt. Pleasant Ave.                                   2000 Underwood Rd.                                   48 E. Bison Circle
Stratford CT 06614-3420                                 Aledo TX 76008-2447                                  Florissant CO 80816-7157



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                                                                                                             Arlington TX 76001-6963


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Arlington TX 76001-6963


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34601 E. Shore Rd.                                      North Haven CT 06473-2873                            Camp Point IL 62320-2129
Lone Jack MO 64070-9169
                           Case 17-40179   Doc 22   Filed 04/17/17
Thomas Clayton                                          Thomas HayesEntered 04/17/17 10:06:10   Desc Main Document
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26770 Sale Barn Ln                                      5115 N. Dysart Road, 202-217                          11051 Dormie Drive
Belmont WI 53510-9725                                   Litchfield Park AZ 85340-3032                         San Antonio FL 33576-7048



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                                                      Yang Zhao and  Hong Yang               Desc Main Document
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59250 E. 190 Rd                                       31 E. 59th St.                                       447 Lynn Ct.
Fairland OK 74343-1753                                Westmont IL 60559-2501                               Clarendon Hills IL 60514-1000



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